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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

IN RE:                           Chapter 7
                                 Case No. 20-10553 (CTG)
START MAN FURNITURE, LLC, et al. Jointly Administered


TODD STEWART and JENNIFER             Civil Action No. 22-cv-00450 (CFC)
SAWLE, on behalf of themselves
and all others similarly situated,    Bankruptcy Case No. 20-10553 (CTG)
                                      Bankruptcy Adv. Pro. No. 20-50548 (CTG)
               Appellants,            Bankruptcy BAP No. 22-00030

         vs.

ALFRED T. GIULIANO, chapter 7
trustee for Debtors Start Man
Furniture, LLC, et al.,

               Appellee.



          MOTION OF COMMUNICATIONS WORKERS OF AMERICA,
         SERVICE EMPLOYEES INTERNATIONAL UNION, AMERICAN
          FEDERATION OF TEACHERS, AMERICAN FEDERATION OF
            STATE, COUNTY AND MUNICIPAL EMPLOYEES, AND
          NATIONAL EMPLOYMENT LAW PROJECT FOR LEAVE TO
            FILE AS AMICI CURIAE IN SUPPORT OF APPELLANTS’
                             OPENING BRIEF
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      The Communications Workers of America (“CWA”), the Service Workers

International Union (“SEIU”), the American Federation of Teachers (“AFT”), the

American Federation of State, County and Municipal Employees (“AFSCME”), and

the National Employment Law Project (“NELP”) (collectively “Amici”) respectfully

request the Court’s permission to file the attached brief of amici curiae.

      Amici include the following organizations:

      Communications Workers of America, AFL-CIO (“CWA”) is a union of

hundreds of thousands of public and private sector workers in communities across

the United States, Canada, Puerto Rico, and other U.S. territories. Its members work

in telecommunications and IT, the airline industry, manufacturing, news media,

broadcast and cable television, education, health care, public service, and other

fields. For years, CWA members have fought to improve workplaces by bargaining

to improve pay and benefits, and for equal treatment, while advocating for

legislation that protects the safety and economic wellbeing of all workers. In

telecommunications and manufacturing, among other sectors, CWA members rely

on the WARN Act to provide advance notice before an employer closes a facility.

      The Service Employees International Union (“SEIU”) is a union of more

than two million workers, including more than one million workers in frontline

healthcare roles. SEIU has a long history of advocating for workplace protections to

improve the treatment of employees and ensure their economic security.
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      The American Federation of Teachers, AFL-CIO (“AFT”) was founded in

1916 and today represents approximately 1.7 million members in more than three

thousand local affiliates nationwide. AFT represents a variety of employees in both

the public and private sectors, including in education, healthcare, and local, state,

and federal government. AFT members have been on the front lines of the COVID-

19 pandemic.

      The American Federation of State, County and Municipal Employees,

AFL-CIO (“AFSCME”) is a labor organization with over 1.4 million members who

provide vital public services around the nation. AFSCME represents members in

hundreds of different occupations, including nurses, childcare providers, corrections

officers, EMTs, sanitation workers and more. AFSCME members are often first

responders to natural disasters and have been on the front lines of the COVID-19

pandemic.

      National Employment Law Project (“NELP”) is a non-profit legal

organization with over fifty years of experience advocating for the employment

rights of workers in low-wage industries. NELP’s areas of expertise include

workplace standards, access to good jobs and benefits, and social safety nets for

workers who lose their jobs, including those lost during the COVID-19 pandemic.

NELP collaborates closely with state and federal agencies, community-based

worker centers, unions, and state policy groups, including in states within the



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Eleventh Circuit. It has litigated and participated as amicus in numerous cases

addressing workers’ rights under federal and state laws. NELP has submitted

testimony to the U.S. Congress and state legislatures on numerous occasions on

workplace rights and economic security connected to work.

      Amici seek to file this brief to provide information regarding the correct

interpretation of the WARN Act, a crucial workplace protection designed to ensure

that workers receive advance notification before mass layoffs or plant closings.

      Although the Federal Rules of Civil Procedure and this Court’s Local Rules

do not address amicus curiae briefs, “a district court’s decision to accept or reject an

amicus filing is entirely within the court’s discretion.” In re Nazi Era Cases Against

German Defs. Litig., 153 F. App’x 819, 827 (3d Cir. 2005). “The Third Circuit’s

standard … provides guidance to aid the district court in its decision.” Feesers, Inc.

v. Michael Foods, Inc., No. 04-cv-576, 2006 WL 8448763, at *1 (M.D. Pa. Mar. 21,

2006). In the Third Circuit, timely “amicus briefs are permitted when amici disclose

‘a sufficient “interest” in the case and [ ] their brief is “desirable” and discusses

matters that are “relevant to the disposition of the case … .”’” In re Nazi Era Cases,

153 F. App’x at 827 (quoting Neonatology Assocs., P.A. v. C.I.R., 293 F.3d 128, 129

(3d Cir. 2002) (Alito, J.)). When in doubt, “it is preferable to err on the side of

granting leave.” Neonatology Assocs., 293 F.3d at 133; see also id. (“[O]ur court

would be well advised to grant motions for leave to file amicus briefs unless it is



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obvious that the proposed briefs do not meet Rule 29's criteria as broadly

interpreted.”)

      The proposed brief readily meets the standard for filing.

      The Interest of Proposed Amici. CWA, SEIU, AFT, and AFCSME are major

national unions that, collectively, represent millions of American workers in a wide

variety of fields—many of whom were laid off during the economic downturn that

accompanied the COVID-19 pandemic. Amicus NELP is an established non-profit

legal organization that has worked for over fifty years with state and federal

agencies, unions, and other local organizations to advocate for workers’ rights.

      Amici and their members have a keen interest in ensuring that the statutory

right to advance notice of mass layoffs and plant closings is not unduly limited

through an inappropriate interpretation of the WARN Act. Advance notice allows

unions, like Amici in this case, to work with their members and get them engaged in

retraining, or other readjustment, programs ahead of layoffs, in order to prevent a

loss of income. If this Court were to accept Defendant’s interpretation of the WARN

Act’s “natural disaster” exception, many workers would not receive the notice

required by the WARN Act. As labor unions representing millions of workers across

the United States in a range of industries, Amici thus have a strong interest in this

case and the proper interpretation of the WARN Act’s exceptions.




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      Desirability and Relevance. The proposed brief may aid the Court in its

determination of central issues in this case: the correct application of the “natural

disaster” and “unforeseen business circumstances” exceptions to the WARN Act’s

60-day notice requirement. The proposed brief provides the Court with important

history and context, not in the parties’ briefs, that shed light on Congress’s intent in

passing the WARN Act. Moreover, Amici have a unique insight into the challenges

workers face when they are laid off—including prolonged bouts of unemployment,

decreased    long-term    earning    potential,   and   potentially    serious   health

consequences—and are well positioned to explain the importance of these concerns

and how Congress approached them in enacting the WARN Act. See generally

Neonatology Assocs., 298 F.3d at 132 (“Even when a party is very well represented,

an amicus may provide important assistance to the court.”).

      Timeliness. Finally, the proposed brief is timely. Neither the Federal Rules of

Civil Procedure nor the Local Rules provide a deadline for filing an amicus brief.1

In general, courts judge timeliness by looking at whether there is prejudice to the

opposing party and the reason for the delay. See, e.g., In re Cmty. Bank of N. Va.,

418 F.3d 277, 314–15 (3d Cir. 2005) (discussing timeliness in context of


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  While Federal Rule of Appellate Procedure 29 does not directly apply here, it too
would leave it in the Court’s discretion to decide whether to allow filing. Rule
29(a)(6) provides that a brief is timely by default if filed within seven days of the
principal brief of the party being supported, and “[a] court may grant leave for later
filing.” Fed. R. App. P. 29(a)(6).

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intervention motion). Here, these factors weigh in favor of allowing the brief. The

proposed brief is being filed within 14 days of the brief that it is supporting, and

more than two weeks before response briefs are due. This will give the parties ample

time to respond to the arguments in the proposed brief. And to the extent that the

filing of this brief could be considered delayed, any such delay is justifiable because

Amici’s lead counsel litigated a multi-week bench trial in the Middle District of

Louisiana in June, see Lewis v. Cain, No. 15-cv-318 (M.D. La. filed May 20, 2015),

and was on a post-trial vacation when the principal briefs in this case were filed.

      Counsel for Appellants Stewart and Sawle have informed undersigned

counsel that Appellants consent to this motion. Counsel for the Cross-Appellant

Trustee has informed undersigned counsel that the Trustee does not consent to this

motion. This does not preclude granting this motion for leave, because “[e]ven when

the other side refuses to consent to an amicus filing, most courts of appeals freely

grant leave to file, provided the brief is timely and well-reasoned.” Neonatology

Assocs., 298 F.3d at 133 (quoting Micael E. Tigar & Jane B. Tigar, Federal

Appeals—Jurisdiction and Practice 181 (3d ed. 1999)).

                                 CONCLUSION

        For the reasons discussed above, this Court should grant Amici’s motion

for leave to file the attached amicus brief.




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Dated: July 8, 2022           Respectfully submitted,
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  TYPEFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

      This document complies with the word limit of Fed. R. Bankr. P.

8013(f)(3)(A) because, excluding the parts of the document exempted by Fed. R.

Bankr. P. 8015(g), this document contains 1423 words.



Dated: July 8, 2022                        /s/ Jason A. Gibson
                                           Jason A. Gibson (DE Bar No. 6091)
